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  7
  8
                              UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
 10                                SOUTHERN DIVISION
 11
 12
       ANURAG GUPTA and by and
 13    through him, D.G. and V.G., his
 14    minor children,                                  CLASS ACTION COMPLAINT
 15    individually and on behalf of all others
 16    similarly situated,                              DEMAND FOR JURY TRIAL
 17                              Plaintiffs,
 18
       v.
 19
 20    AERIES SOFTWARE, INC.,

 21
 22                              Defendant.

 23
 24
 25
 26
 27
      000017/01259651_1
      ______________________________________________________________________________________________
      CLASS ACTION COMPLAINT
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  1            Plaintiffs Anurag Gupta and his minor children, D.G. and V.G. (“Plaintiffs”),
  2   individually and on behalf of all other persons similarly situated, and through their
  3   attorneys of record, allege the following against Defendant Aeries Software, Inc.
  4   (“Aeries” or “Defendant”) based upon personal knowledge with respect to themselves,
  5   on information and belief derived from investigation of counsel, and review of public
  6   documents as to all other matters.
  7                                        INTRODUCTION
  8            1.      Plaintiffs D.G. and V.G. are minor students at the ABC Unified School
  9   District (“ABC”), which is one of many public school districts in California that utilize
 10   the Aeries School Information System offering (“Aeries SIS”) to manage student data.
 11   Unfortunately for Plaintiffs, Aeries did not adequately safeguard their data, and they
 12   and thousands of other students are now the victims of a large-scale, long-lasting data
 13   breach that will impact them for years to come. Plaintiff Gupta is the natural parent of
 14   Plaintiffs D.G. and V.G., and his data was also compromised in the same data breach.
 15            2.      In November 2019, Aeries began internally investigating an attempt of
 16   unauthorized persons to access data through “Aeries SIS.1 According to Aeries, it did
 17   not discover any unauthorized access, but nevertheless, it updated the Aeries SIS on
 18   December 20, 2019, to fix security deficiencies it discovered during its internal
 19   investigation.
 20            3.      In January 2020, Aeries learned that one of its school district clients
 21   whose students’ (as well as the students’ parents’ and guardians’) personal information
 22   was stored locally on the school districts’ database and processed through the Aeries
 23   SIS, had their local database subjected to unauthorized access. Aeries undertook
 24   another investigation.2
 25
 26
      1
          http://aeries.com/notice-of-data-breach-4-27-2020 (last visited May 26, 2020)
 27   2
          Id.

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      CLASS ACTION COMPLAINT                                                                        1
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  1             4.     Aeries now admits that 166 databases hosted on Aeries servers and
  2   storing data on behalf of the school districts (this Aeries server environment is referred
  3   to herein as “Aeries Hosting”) were subject to unauthorized access beginning on or
  4   about November 4, 2019 (the “Data Breach”). According to Aeries, it did not discover
  5   the unauthorized access of those other Aeries Hosting databases until March 2020,
  6   and it claims “the unauthorized access has been terminated.”3 However, Aeries has not
  7   disclosed when such access was terminated, and its assertion that it has resolved the
  8   problem is doubtful given its inability to detect the intrusion for four months even
  9   though it was on notice of intrusion attempts and known security deficiencies during
 10   that time.
 11             5.     Despite having knowledge of the Data Breach as early as November
 12   2019, and certainly no later than January 2020, Aeries did not notify its school district
 13   customers of the Data Breach until April 27, 2020, when it issued a “Notice of Data
 14   Breach” to school district customers using Aeries Hosting.
 15             6.     The April 27, 2020 “Notice of Data Breach” disclosed only that the
 16   following personal information was compromised: “Parent and Student Login
 17   information, physical residence addresses, emails, and ‘password hashes.’” Aeries
 18   further acknowledged that “[w]ith access to a password hash, weak, common or simple
 19   passwords, can be deconstructed to gain unauthorized access to Parent and Student
 20   Accounts.”4
 21             7.     The Notice of Data Breach did not disclose that additional treasure
 22   troves of personal information were stored on behalf of its school district customers
 23   in Aeries Hosting, including, inter alia, minor students’ immunization and other health
 24   records, social security numbers, class grades, standardized test information, previous
 25   addresses, parent’s or guardian’s credit or debit cards and other financial information
 26
      3
          Id.
 27   4
          Id.

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      CLASS ACTION COMPLAINT                                                                        2
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  1   used to pay school fees and fines, and more (collectively with the personal information
  2   identified in paragraphs 6, 21, and 25, the “PII”).
  3            8.      More than two weeks after Aeries sent its school district customers the
  4   Notice of Data Breach, ABC finally provided notice of the breach to parents and
  5   guardians of children attending ABC schools on May 13, 2020, including Mr. Gupta.5
  6   This notice did not disclose any of the categories of students’, parents’, or guardians’
  7   PII that were compromised in the Data Breach. Nor did a subsequent email sent on
  8   May 21, 2020, from ABC’s Director of Information and Technology, which only
  9   provided instructions for how parents and students could reset their passwords used
 10   to access Aeries SIS.6 On May 28, 2020, ABC finally sent a more detailed notice with
 11   the subject line “An Announcement from Colin Sprigg.”7
 12            9.      Unfortunately, even Aeries’ subsequent investigations failed to uncover
 13   that it was not only PII stored on Aeries Hosting that was compromised. In early May
 14   2020, other school district customers discovered that PII processed through the Aeries
 15   SIS but stored on local servers (i.e., the school districts’ servers) was also subject to
 16   unauthorized access and part of the Data Breach.8 Aeries’ failure to discover this is
 17   particularly disturbing as the January 2020 incident referenced in the Notice of Data
 18   Breach involved a school district that did not use Aeries Hosting.
 19            10.     Shockingly, as of the date of filing, Aeries still has not publicly disclosed
 20   that its non-Aeries Hosting customers may also have had students’, parents’, and
 21   guardians’ PII compromised in the Data Breach.
 22
 23
 24
      5
        See May 13, 2020 Notice of Data Breach, attached as Exhibit A.
      6
        A copy of this May 21, 2020 email is attached as Exhibit B.
 25   7
        A copy of this May 28, 2020 email is attached as Exhibit C.
 26
      8
        See, e.g., Aeries Security Incident, Rocklin Unified School District (May 12, 2020),
      available at https://www.rocklinusd.org/documents/District%20Info/RUSD%20-
 27   %20Aeries%20Breach%20Parent%20Notification.pdf.

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      CLASS ACTION COMPLAINT                                                                        3
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  1          11.    Aeries is responsible for allowing the Data Breach to occur because it
  2   failed to implement and maintain any reasonable safeguards and failed to comply with
  3   industry-standard data security practices, contrary to the representations made in
  4   Aerie’s privacy statements and its explicit and implied agreements with its school
  5   district customers.
  6          12.    During the duration of the Data Breach, Aeries failed to detect the
  7   unauthorized third parties’ access to its service, notice the massive amounts of data
  8   that were compromised, and failed to take any steps to investigate the red flags that
  9   should have warned Aeries that its systems were not secure. As a result of Aeries’
 10   failure to protect the student information it was entrusted with, Plaintiffs and class
 11   members have been exposed to and/or are at a significant risk of identity theft,
 12   financial fraud, and other identity-related fraud into the indefinite future. Plaintiffs and
 13   class members have also lost the inherent value of their PII. This harm was
 14   compounded by Aeries’ failure to timely notify its school district customers of the Data
 15   Breach, its failure to disclose the extent of the information compromised in the Data
 16   Breach, and its further failure to ensure parents and guardians and students of its
 17   school district customers received proper and timely notification of the Data Breach.
 18                                           PARTIES
 19          13.    Plaintiffs D.G. and V.G. are the minor children of Plaintiff Anurag
 20   Gupta. They are citizens and residents of the State of California and attend public
 21   school in ABC, including at the time of the incidents described herein. They entrusted
 22   PII to Aeries with the reasonable expectation and understanding that Aeries would
 23   protect and safeguard that information from compromise, disclosure, and misuse by
 24   unauthorized users, and would be timely notified of any data security incidents
 25   involving their PII should such occur.
 26          14.    Plaintiff Anurag Gupta is a citizen and resident of the State of California.
 27   He entrusted PII to Aeries with the reasonable expectation and understanding that

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      CLASS ACTION COMPLAINT                                                                     4
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  1   Aeries would protect and safeguard that information from compromise, disclosure,
  2   and misuse by unauthorized users, and would be timely notified of any data security
  3   incidents involving his PII should such occur.
  4            15.     Aeries is a California corporation with its principal place of business in
  5   Anaheim, California. Aeries touts that it offers “industry leading student data
  6   management system software.”9 Its primary offering, the Aeries SIS, is used by “over
  7   600 public school districts and education agencies.”10 While most of these customers
  8   are located in California, Aeries also has customers elsewhere in the United States,
  9   including the state of Texas.11 School district customers using Aeries SIS may elect to
 10   have Aeries host student data on Aeries’ servers, i.e., Aeries Hosting (“Hosted School
 11   District Customers”). ABC is one of many of Aeries’ Hosted School District
 12   Customers.
 13                                JURISDICTION AND VENUE
 14            16.     This Court has subject matter jurisdiction pursuant to the Class Action
 15   Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy
 16   exceeds the sum of $5,000,000 exclusive of interest and costs, there are more than 100
 17   putative class members, and minimal diversity exists because putative class members
 18   are citizens of a different state than Aeries.
 19            17.     This Court has personal jurisdiction over Aeries because it is authorized
 20   to and regularly conducts business in California and is headquartered in Anaheim,
 21   California.
 22            18.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a
 23   substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in
 24   this District.
 25
 26
      9
        Id.
      10
         Id.
 27   11
         https://www.aeries.com/about/leadership-team (last visited May 26, 2020)

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      CLASS ACTION COMPLAINT                                                                        5
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  1                               FACTUAL ALLEGATIONS
  2                Aeries and Its Privacy and Data Security Representations
  3          19.     Aeries has sold its “Software-as-a-Service” offering, the Aeries SIS, to
  4   over 600 public school districts and education agencies.12 At least 300 of those are
  5   Hosted School District Customers.13 Aeries’ customers “use Aeries daily to manage
  6   student data on over 2.5 million students.”14
  7          20.    Aeries is compensated handsomely for the services it provides to its
  8   school district customers. For example, when the Mt. Diablo Unified School District
  9   considered purchasing the Aeries SIS offering, it anticipated paying Aeries $750,000
 10   for the first five years of use, with $568,350 paid for the first year and costs after the
 11   first year estimated at approximately $45,000 per year.15
 12          21.    Aeries is fully aware of the sensitive nature of students’ PII stored on or
 13   processed through its systems. It identifies the following categories of “Student Data”
 14   that are managed in its systems: “Medical”; “Discipline”; “Siblings”; “Emergency
 15   Contacts”; “Fees/Fines”; “Counseling”; “Special Ed. / CASEMIS”; “Intervention
 16   Tracking (RTI)”; “Retention Tracking”; “Lockers”; “Photos / ID Cards”; “Custom
 17   Supplemental Data”; “Language Assessment”; “Free & Reduced Lunch”; “Physical
 18   Fitness”; and “Work Permits.” The “Medical” category includes items of information
 19   such as “Medical History”; “Immunizations”; “Vaccination Requirements”;
 20   “Hearing”; “Vision”; “Physicals”; “Scoliosis”; “Dental”; and “Government Billing.”
 21
 22
 23   12
         https://www.aeries.com/about (last visited May 26, 2020)
 24
      13
         https://www.aeries.com/about/leadership-team (last visited May 26, 2020)
      14
         https://www.aeries.com/products/capabilities-advantages (last visited May 26,
 25   2020)
 26
      15
         Agena Docket Form, Mt. Diablo Unified School District (January 23, 2007), available
      at http://esbpublic.mdusd.k12.ca.us/attachments/f8636ff8-fdcb-4b6e-af7c-
 27   c1c5b8ba2ed5.pdf.

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      CLASS ACTION COMPLAINT                                                                     6
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  1   Other categories of data relevant to students’ PII include “Grade Reporting /
  2   Transcripts” and “Testing / Assessment.”16
  3          22.    An individual student’s login credentials, and/or those of their parent or
  4   guardian, may be used to access the PII stored or processed through Aeries’ systems
  5   and databases specific to that student/guardian. Other accounts, such as school or
  6   district-level administrators, have access to all or portions of the PII of students and/or
  7   guardians within a particular school or district.17
  8          23.    When marketing Aeries Hosting, Aeries touts that it “hosts the District
  9   Aries database in a secure off-site data center” and that Aeries Hosting offers
 10   “[a]dvanced security encryption.”18
 11          24.    Beyond specific representations to its Hosted School District Customers,
 12   Aeries makes representations to all of its customers and their students’ and those
 13   students’ guardians regarding its data security practices. In Aeries’ “Privacy Center” on
 14   its website, Aeries states that “it is of paramount priority that Aeries Software designs
 15   its products with privacy and security in mind at all time.” The Privacy Center page
 16   further represents that Aeries “use[s] the industry best practices to protect data.”19
 17          25.    Aeries’ Privacy Policy, last updated April 24, 2019, makes further
 18   representations regarding its data security practices. The Privacy Policy informs users
 19   of Aeries’ systems that the PII stored on its systems may include “the following
 20   information about students and their guardians: Demographic information such as
 21   name, mailing address, email address, and date of birth; Student education records
 22   including, but not limited to student’s grades, class enrollment, and behavioral records;
 23
 24
      16
         https://www.aeries.com/products/capabilities-advantages (last visited May 26,
      2020)
 25   17
         https://support.aeries.com/support/solutions/articles/14000067946-aeries-
 26   security-groups (last visited May 26, 2020)
      18
         https://www.aeries.com/products/aerieshosting (last visited May 26, 2020)
 27   19
         https://www.aeries.com/privacy-center (last visited May 26, 2020)

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  1   Financial information, including but not limited to fees and fines, such as Chromebook
  2   insurance, or administrative fees, determined by LEAs; Health-related information
  3   including your student’s immunizations and vision and hearing screening results; [and]
  4   System usernames and passwords.”20
  5          26.    Recognizing the sensitivity of the PII stored on its servers or otherwise
  6   processed or managed through Aeries SIS, Aeries’ Privacy Policy further touts that
  7   “Aeries takes various security measures—physical, electronic, and procedural—to help
  8   defend against the unauthorized access and disclosure of your information. . . . [O]ur
  9   employees are required to comply with information security safeguards, and our
 10   systems are protected by technological measures to help prevent unauthorized
 11   individuals from gaining access. Aeries employees are trained to observe and comply
 12   with applicable federal and state privacy laws in the handling, processing, and storage
 13   of your information.”21
 14          27.    Aeries’ Privacy Policy also sets forth expectations for Aeries’ behavior in
 15   the event of a data breach, providing that “[u]pon discovery or notification of any
 16   unauthorized access disclosure, Aeries will take immediate measures to safeguard and
 17   prevent further dissemination of any personal information. When reasonably able to
 18   do so, Aeries will notify the impacted parties via contact information on record.”
 19   Aeries represents that it will notify affected users of its system (i.e., students, parents,
 20   and guardians) “via email” and, potentially in addition to email, “in writing” depending
 21   on applicable legal requirements.22
 22           Aeries’ Knowledge That It Was and Is a Target of Cyber Threats
 23          28.    Aeries knew it was a prime target for hackers given the significant amount
 24   of sensitive student PII processed through Aeries SIS and stored in Aeries Hosting.
 25
 26
      20
         https://www.aeries.com/privacy-policy (last visited May 26, 2020)
      21
         Id.
 27   22
         Id.

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   1   Indeed, on the Privacy Center webpage, when touting its data security practices, Aeries
   2   acknowledges the “risks involved by schools utilizing its products and services for
   3   student data collection and retention.”23
   4          29.    Aeries’ knowledge is underscored by massive data breaches of other
   5   companies offering educational software products and services. For example, in July
   6   2019, the educational software company Pearson announced a data breach that
   7   affected approximately “13,000 of the company’s school and university accounts”; in
   8   one state alone, Nevada, the Pearson data breach resulted in “[m]ore than 650,000
   9   Nevada students ha[ving] personal information exposed.”24
  10          30.    The Pearson data breach was not an isolated incident. According to The
  11   K-12 Cybersecurity Resource Center, in 2019 alone K-12 public school districts and
  12   education agencies across the U.S. suffered a total of 348 publicly acknowledged data
  13   security incidents – “a rate of nearly two incidents per school day over the course of
  14   2019.”25 Approximately 60% of these data security incidents were “data breaches,
  15   primarily involving the unauthorized disclosure of student data.”26
  16          31.    Despite being a holder of PII for tens, if not hundreds of thousands of
  17   minor students, Aeries failed to prioritize data security by adopting reasonable data
  18   security measures to prevent and detect unauthorized access to their highly sensitive
  19   systems and databases. Aeries had the resources to prevent a breach, but neglected to
  20
  21
  22   23
          https://www.aeries.com/privacy-center (last visited May 26, 2020)
       24
          Amanda Pak-Harvey, Nevada students’ information exposed in data breach, Las Vegas
  23   Review-Journal (Aug. 2, 2019),
  24   https://www.reviewjournal.com/local/education/nevada-students-information-
       exposed-in-data-breach-1817032/
  25   25
          K-12 Cybersecurity 2019 Year in Review: Part III: Cybersecurity Incidents: 2019, The K-12
  26   Cybersecurity Resource Center, https://k12cybersecure.com/year-in-review/2019-
       incidents/ (last visited May 26, 2020).
  27   26
          Id.

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       CLASS ACTION COMPLAINT                                                                         9
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   1   adequately invest in data security, despite the growing number of well-publicized data
   2   breaches affecting educational institutions and their vendors.
   3          32.       Despite these well-publicized breaches of educational institutions and
   4   educational vendors, Aeries failed to undertake adequate analyses and testing of its
   5   own systems, training of its own personnel, and other data security measures to ensure
   6   that similar vulnerabilities were avoided or remedied and that Plaintiffs’ and class
   7   members’ PII was protected.
   8                                       The Data Breach
   9          33.       In November 2019, Aeries became aware that unauthorized persons had
  10   attempted to access data through Aeries SIS and conducted an internal investigation.
  11   Aeries contends that no actual unauthorized access was uncovered during this
  12   investigation.
  13          34.       Nonetheless, on December 20, 2019, Aeries updated the Aeries SIS
  14   offering to fix known security deficiencies following its internal investigation.
  15          35.       In January 2020, Aeries learned that one of its school district clients
  16   whose students’ (as well as the students’ parents’ and guardians’) personal information
  17   was stored locally on the school district’s database and processed through the Aeries
  18   SIS, had its local database subjected to unauthorized access. Aeries undertook another
  19   investigation in cooperation with the school district customer, local law enforcement,
  20   and federal authorities..
  21          36.       Aeries contends that it was not until March 2020 that it discovered the
  22   unauthorized access of other databases in Aeries Hosting.
  23          37.       Specifically, at least 166 databases in Aeries Hosting were subject to
  24   unauthorized access beginning on or about November 4, 2019. According to Aeries,
  25   “the unauthorized access has been terminated.” However, Aeries has not disclosed
  26   when such access was terminated or what, if anything, was done to avoid future
  27   security incidents.

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   1         38.     Despite having knowledge of the Data Breach as early as November
   2   2019, and certainly no later than January 2020, Aeries did not notify its school district
   3   customers of the Data Breach until April 27, 2020, when it issued a “Notice of Data
   4   Breach” to school district customers using Aeries Hosting.
   5         39.     The April 27, 2020 “Notice of Data Breach” disclosed only that the
   6   following personal information was compromised: “Parent and Student Login
   7   information, physical residence addresses, emails, and ‘password hashes.’” Aeries
   8   further acknowledged that “[w]ith access to a password hash, weak, common or simple
   9   passwords, can be deconstructed to gain unauthorized access to Parent and Student
  10   Accounts.”
  11         40.     The Notice of Data Breach did not disclose that additional treasure
  12   troves of PII were stored on behalf of its school district customers in Aeries Hosting,
  13   including, inter alia, minor students’ immunization and other health records, social
  14   security numbers, class grades, standardized test information, previous addresses, as
  15   well as the information on students, parents, and guardians identified in paragraphs 21
  16   and 25 of this Complaint.
  17         41.     More than two weeks after Aeries sent its school district customers the
  18   Notice of Data Breach, ABC finally provided notice of the breach to parents of
  19   children attending ABC schools, including Mr. Gupta. This notice did not disclose
  20   any of the categories of students’, parents’, and guardians’ PII that were compromised
  21   in the Data Breach. Nor did a subsequent email sent on May 21, 2020 from ABC’s
  22   Director of Information and Technology, which only provided instructions for how
  23   parents and guardians and students could reset their passwords used to access Aeries
  24   SIS. On May 28, 2020, ABC finally sent a more detailed notice with the subject line
  25   “An Announcement from Colin Sprigg,” purporting to “more fully inform those
  26   impacted of what data was compromised.” The email repeated the same line from
  27   Aeries that the only data compromised was “Parent name,” “Student Name,” “Student

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   1   ID (School),” “Physical Resident address,” “Email Address,” and “Password ‘hashes’.”
   2   In disclaiming that Social Security Numbers were compromised, ABC stated that “No
   3   social security numbers are maintained in the Aeries system; therefore, no risk of
   4   compromise to this data is possible.” However, ABC of course cannot speak to
   5   whether other school districts stored Social Security Numbers in Aeries Hosting, and
   6   schools regularly collect such information from students. Moreover, ABC (and Aeries)
   7   failed to address the myriad other categories of sensitive personal information that are
   8   stored in Aeries Hosting such as students’ medical records. ABC dubiously asserts “No
   9   evidence exists that your data was taken or misused.” But Plaintiffs have every reason
  10   to believe this information was in fact compromised because ABC stated that “ABC
  11   has determined that the unauthorized party attempted to gather your information” and
  12   that the login credentials used to access said information were in fact exposed. This
  13   reasonable belief is underscored by the wholly inadequate investigation Aeries has
  14   undertaken to date, which failed to identify the Data Breach for several months after
  15   the first unauthorized access attempts were identified.
  16         42.     Unfortunately, even Aeries’ subsequent investigations were inadequate.
  17   They failed to uncover that it was not only the student, parent, and guardian PII stored
  18   on Aeries Hosting that was compromised. In early May 2020, other school district
  19   customers discovered that students’, parents’, and guardians’ PII processed through
  20   the Aeries SIS but stored on local servers (i.e., the school districts’ servers) was also
  21   subject to unauthorized access.
  22         43.     As of the date of filing, Aeries still has not publicly disclosed that its non-
  23   Aeries Hosting customers using local servers had students’, parents’, and guardians’
  24   PII compromised in the Data Breach.
  25         44.     Moreover, and notwithstanding the representations in its Privacy Policy
  26   that it would notify affected users (i.e., students, parents, and guardians) of a data
  27

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   1   breach via email, neither D.G. and V.G., nor Mr. Gupta, has received an email from
   2   Aeries regarding the breach.
   3          45.    None of the communications from Aeries, nor the communications Mr.
   4   Gupta received from ABC, offered victims of the Data Breach any type of identity or
   5   fraud monitoring or identity theft protection services. Notably, other companies have
   6   provided automatic identity-theft protection services to victims of similar breaches,
   7   including in relation to the aforementioned Pearson data breach.27
   8          46.    Aeries’ response to the Data Breach caused confusion among the victims
   9   of the data breach, resulting in class members spending time, and continuing to spend
  10   a significant amount of time into the future, taking measures to protect themselves
  11   from identity theft, fraud, and other identity-related crimes.
  12          47.    Aeries is responsible for allowing the Data Breach to occur because it
  13   failed to implement and maintain any reasonable safeguards and failed to comply with
  14   industry-standard data security practices, contrary to the representations made in
  15   Aeries’ privacy statements and its explicit and implied agreements with its users.
  16          48.    During the duration of the Data Breach, Aeries failed to detect the
  17   unauthorized third parties’ access to its systems and databases, notice the massive
  18   amounts of data that were compromised, and failed to take any steps to investigate the
  19   red flags that should have warned Aeries that its systems were not secure. As a result
  20   of Aeries’ failure to protect the sensitive PII it was entrusted with, Plaintiffs and class
  21   members are at a significant risk of identity theft, financial fraud, and other identity-
  22   related fraud into the indefinite future. Plaintiffs and class members have also lost the
  23   inherent value of their PII.
  24
  25
  26
       27
         See, e.g., Students and Schools Affected by Pearson Data Breach, Identity Theft Resource
       Center, https://www.idtheftcenter.org/students-and-schools-affected-by-pearson-
  27   data-breach/ (last visited May 26, 2020).

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   1           49.   Plaintiffs and class members provided their PII to Aeries and its school
   2   district customers with the expectation and understanding that Aeries would
   3   adequately protect and store their data. If Plaintiffs and class members had known that
   4   Aeries data security was insufficient to protect their PII, they would have demanded
   5   that their school districts not store their PII on Aeries’ databases or process it through
   6   Aeries’ systems.
   7        Aeries Failed to Comply with Regulatory Guidance and Meet Consumers’
   8                                         Expectations
   9           50.   Federal agencies have issued recommendations and guidelines to temper
  10   data breaches and the resulting harm to individuals and financial institutions. For
  11   example, the FTC has issued numerous guides for business highlighting the
  12   importance of reasonable data security practices. According to the FTC, the need for
  13   data security should be factored into all business decision-making.28
  14           51.   In 2016, the FTC updated its publication, Protecting Personal Information: A
  15   Guide for Business, which established guidelines for fundamental data security principles
  16   and practices for business.29 Among other things, the guidelines note businesses should
  17   protect the personal customer information that they keep; properly dispose of personal
  18   information that is no longer needed; encrypt information stored on computer
  19   networks; understand their network’s vulnerabilities; and implement policies to correct
  20   security problems. The guidelines also recommend that businesses use an intrusion
  21   detection system to expose a breach as soon as it occurs; monitor all incoming traffic
  22   for activity indicating someone is attempting to hack the system; watch for large
  23
  24
       28
          Federal Trade Commission, Start With Security (June 2015),
       https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
  25   startwithsecurity.pdf (last visited May 26, 2020).
  26
       29
          Federal Trade Commission, Protecting Personal Information: A Guide for Business (Oct.
       2016), https://www.ftc.gov/system/files/documents/plain-language/pdf-
  27   0136_proteting-personal-information.pdf.

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   1   amounts of data being transmitted from the system; and have a response plan ready in
   2   the event of a breach.30
   3          52.       Additionally, the FTC recommends that companies limit access to
   4   sensitive data; require complex passwords to be used on networks; use industry-tested
   5   methods for security; monitor for suspicious activity on the network; and verify that
   6   third-party service providers have implemented reasonable security measures.31
   7          53.       The FTC has brought enforcement actions against businesses for failing
   8   to adequately and reasonably protect customer information, treating the failure to
   9   employ reasonable and appropriate measures to protect against unauthorized access to
  10   confidential consumer data as an unfair act or practice prohibited by Section 5 of the
  11   Federal Trade Commission Act, 15 U.S.C. § 45. Orders resulting from these actions
  12   further clarify the measures businesses must take to meet their data security
  13   obligations.32
  14          54.       In this case, Aeries was fully aware of its obligation to use reasonable
  15   measures to protect the PII of its customers, acknowledging as much in its own privacy
  16   policies. Aeries also knew it was a target for hackers. But despite understanding the
  17   consequences of inadequate data security, Aeries failed to comply with industry-
  18   standard data security requirements.
  19          55.       Aeries’ failure to employ reasonable and appropriate measures to protect
  20   against unauthorized access to students’, parents’, and guardians’ PII constitutes an
  21   unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45 and
  22   various state consumer protection and data breach statutes.
  23
  24
       30
          Id.
  25   31
          FTC, Start With Security, supra note 27.
  26
       32
          Federal Trade Commission, Privacy and Security Enforcement: Press Releases,
       https://www.ftc.gov/news-events/media-resources/protecting-consumer-
  27   privacy/privacy-security-enforcement (last visited May 26, 2020).

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   1                                 Effect of the Data Breach
   2          56.    Aeries’ failure to keep Plaintiffs’ and class members’ PII secure has severe
   3   ramifications. Given the sensitive nature of the PII stolen in the Data Breach, cyber
   4   criminals have the ability to commit identity theft and other identity-related fraud
   5   against Plaintiffs and class members now and into the indefinite future.
   6          57.    The information stolen from Aeries included usernames and
   7   passwords—PII that is highly valued among cyber thieves and criminals on the Dark
   8   Web. For example, Apple ID usernames and passwords were sold on average for
   9   $15.39 each on the Dark Web, making them the most valuable non-financial
  10   credentials for sale on that marketplace. Usernames and passwords for eBay ($12),
  11   Amazon (≤$10), and Walmart (≤$10) fetch similar amounts.33 Consumers often reuse
  12   passwords. By unlawfully obtaining this information, cyber criminals can use these
  13   credentials to access other services beyond that which was hacked.
  14          58.    Other information stored on Aeries’ databases that were compromised
  15   in the Data Breach can fetch far more on the Dark Web. For example, detailed student
  16   health records were stored on the compromised databases. Stolen medical records “can
  17   fetch up to $350 on the dark web.”34
  18          59.    PII also has significant monetary value in part because criminals continue
  19   their efforts to obtain this data.35 In other words, if any additional breach of sensitive
  20
  21   33
          Don Reisinger, Here’s How Much Your Stolen Apple ID Login Costs on the Dark Web,
  22   Fortune (March 7, 2018), https://fortune.com/2018/03/07/apple-id-dark-web-
       cost/. See also https://www.npr.org/2018/02/22/588069886/take-a-peek-inside-the-
  23   market-for-stolen-usernames-and-passwords (last visited May 26, 2020).
  24
       34
          How Cybercriminals Make Money: How much is your information worth to a cybercriminal via
       the Dark Web?, Keeper Security, https://www.keepersecurity.com/how-much-is-my-
  25   information-worth-to-hacker-dark-web.html (last visited May 26, 2020).
  26
       35
          Data Breaches Rise as Cybercriminals Continue to Outwit IT, CIO Magazine (Sept. 28,
       2014), available at http://www.cio.com/article/2686167/data-breach/data-breaches-
  27   rise-as-cybercriminals-continue-to-outwit-it.html.

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   1   data did not have incremental value to criminals, one would expect to see a reduction
   2   in criminal efforts to obtain such additional data over time. Instead, just the opposite
   3   has occurred. For example, the Identity Theft Resource Center reported 1,473 data
   4   breaches in 2019, which represents a 17 percent increase from the total number of
   5   breaches reported in 2018.36
   6          60.    The value of PII is key to unlocking many parts of the financial sector
   7   for consumers. Whether someone can obtain a mortgage, credit card, business loan,
   8   tax return, or even apply for a job depends on the integrity of their PII. Similarly, the
   9   businesses that request (or require) consumers to share their PII as part of a
  10   commercial transaction do so with the expectation that its integrity has not been
  11   compromised.
  12          61.    Annual monetary losses for victims of identity theft are in the billions of
  13   dollars. In 2017, fraudsters stole $16.8 billion from consumers in the United States,
  14   which includes $5.1 billion stolen through bank account take-overs.37
  15          62.    The annual cost of identity theft is even higher. McAfee and the Center
  16   for Strategic and International Studies estimates that the likely annual cost to the global
  17   economy from cybercrime is $445 billion a year.38
  18          63.    The foregoing problems are compounded where, as with Plaintiffs D.G.
  19   and V.G., the victims of the Data Breach are minors.
  20
  21   36
          2019 End-of-Year Data Breach Report (2019), Identity Theft Resource Center, available
  22   at https://www.idtheftcenter.org/wp-
       content/uploads/2020/01/01.28.2020_ITRC_2019-End-of-Year-Data-Breach-
  23   Report_FINAL_Highres-Appendix.pdf.
  24
       37
          Javelin, 2018 Identity fraud: Fraud Enters A New Era of Complexity, available at
       https://www.javelinstrategy.com/coverage-area/2018-identity-fraud-fraud-enters-
  25   new-era-complexity (last visited May 26, 2020).
  26
       38
          Insurance Information Institute, Facts + Statistics: Identity theft and cybercrime, available
       at https://www.iii.org/fact-statistic/facts-statistics-identity-theft-and-cybercrime (last
  27   visited May 26, 2020).

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   1          64.    Over 1 million minor children were victims of fraud or identity theft in
   2   2017, and two/thirds of those victims were under the age of seven.39
   3          65.    Data thieves are also more likely to target minors’ PII and to use that PII
   4   once it is stolen. In 2017, “[a]mong notified breach victims . . . 39 percent of minors
   5   became victims of fraud, versus 19 percent of adults.”40
   6          66.    Criminals make use of minors’ PII to open accounts or new lines of credit
   7   that may not be noticed by the minor; and to create “synthetic identities” using a
   8   combination of real and fictitious information which again, the minor may not realize
   9   was stolen.41 Because minors do not regularly monitor their bank accounts (if they have
  10   them) or their credit reports, data thieves are more likely to make unrestricted use of
  11   this information for longer periods of time than they would for adult victims.42
  12          67.    Minors also generally are less likely to receive notice from the company
  13   responsible for the data breach or to even realize that a thief has made fraudulent use
  14   of their information in other ways – such as creating a new identity for the purposes
  15   of accessing government benefits, healthcare, or employment.43 Minors often “won’t
  16   find out that their identity has been stolen until they apply for their first credit card or
  17   college loan.”44
  18
  19   39
          Kelli B. Grant, Identity Theft isn’t just an adult problem. Kids are victims, too, CNBC
  20   (April 24, 2018), https://www.cnbc.com/2018/04/24/child-identity-theft-is-a-
       growing-and-expensive-problem.html.
  21   40
          Id.
  22   41
          Id.
       42
          Ron Lieber, Identity Theft Poses Extra Troubles for Children, N.Y. Times (April 16,
  23   2015), https://www.nytimes.com/2015/04/18/your-money/a-childs-vulnerability-
  24   to-identity-theft.html.
       43
          Id.
  25   44
          Larry Magid, Teens Vulnerable to Identity Theft, Financial Crimes, and Impersonation,
  26   Forbes (Nov. 7, 2013),
       https://www.forbes.com/sites/larrymagid/2013/11/07/teens-concerned-about-
  27   identity-theft/#6ab243211c49.

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   1         68.      Children are also particularly susceptible to physical harm in the event of
   2   a data breach. Data thieves can use their PII “to link a child to his or her parents and
   3   pinpoint the child’s physical address.”45 This risk is particularly disturbing in light of
   4   the student PII stored or processed by Aeries, which in some instances includes teacher
   5   and home room information – allowing criminals to target children with even greater
   6   precision.
   7         69.      Reimbursing a consumer for a financial loss due to fraud does not make
   8   that individual whole again. On the contrary, in addition to the irreparable damage that
   9   may result from the theft of PII, identity theft victims must spend numerous hours
  10   and their own money repairing the impact to their credit. After conducting a study, the
  11   Department of Justice’s Bureau of Justice Statistics found that identity theft victims
  12   “reported spending an average of about 7 hours clearing up the issues” and resolving
  13   the consequences of fraud in 2014.46
  14         70.      Even before the occurrence of identity theft, victims may spend valuable
  15   time and suffer from the emotional toll of a data breach. Here, Plaintiff Gupta has
  16   already spent approximately two hours investigating the Data Breach after receiving
  17   notice from ABC, including independent online research regarding the scope of the
  18   breach and communicating with ABC regarding the breach. He will continue to expend
  19   time monitoring his family’s credit and other identity-related information (both for
  20   himself and on behalf of Plaintiffs D.G. and V.G.), and is exploring options for identity
  21   theft protection services because Aeries did not offer such services as a result of the
  22   Data Breach.
  23
  24
       45
          Daniel Victor, Security Breach at Toy Maker Vtech Includes Data on Children, N.Y.
       Times (Nov. 30, 2015), https://www.nytimes.com/2015/12/01/business/security-
  25   breach-at-toy-maker-vtech-includes-data-on-children.html.
  26
       46
          U.S. Department of Justice, Victims of Identity Theft, 2014 (Revised November 13,
       2017), available at http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited May
  27   26, 2020).

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   1          71.    The impact of identity theft can have ripple effects, which can adversely
   2   affect the future financial trajectories of victims’ lives. For example, the Identity Theft
   3   Resource Center reports that respondents to their surveys in 2013-2016 described that
   4   the identity theft they experienced affected their ability to get credit cards and obtain
   5   loans, such as student loans or mortgages.47 For some victims, this could mean the
   6   difference between going to college or not, becoming a homeowner or not, or having
   7   to take out a high interest payday loan versus a lower-interest loan.
   8          72.    It is no wonder, then, that identity theft exacts a severe emotional toll on
   9   its victims. The 2017 Identity Theft Resource Center survey48 evidences the emotional
  10   suffering experienced by victims of identity theft:
  11          •      75% of respondents reported feeling severely distressed;
  12          •      67% reported anxiety;
  13          •      66% reported feelings of fear related to personal financial safety;
  14          •      37% reported fearing for the financial safety of family members;
  15          •      24% reported fear for their physical safety;
  16          •      15.2% reported a relationship ended or was severely and negatively
  17                 impacted by the identity theft; and
  18          •      7% reported feeling suicidal.
  19          73.    Identity theft can also exact a physical toll on its victims. The same survey
  20   reported that respondents experienced physical symptoms stemming from their
  21   experience with identity theft:
  22          •      48.3% of respondents reported sleep disturbances;
  23          •      37.1% reported an inability to concentrate / lack of focus;
  24
  25   47
          Identity Theft Resource Center, Identity Theft: The Aftermath 2017, available at
  26   https://www.idtheftcenter.org/images/page-docs/Aftermath_2017.pdf (last visited
       May 26, 2020).
  27   48
          Id.

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   1         •        28.7% reported they were unable to go to work because of physical
   2                  symptoms;
   3         •        23.1% reported new physical illnesses (aches and pains, heart
   4                  palpitations, sweating, stomach issues); and
   5         •        12.6% reported a start or relapse into unhealthy or addictive
   6                  behaviors.49
   7         74.      There may also be a significant time lag between when PII is stolen and
   8   when it is actually misused. According to the U.S. Government Accountability Office,
   9   which conducted a study regarding data breaches:
  10         [L]aw enforcement officials told us that in some cases, stolen data may be
  11         held for up to a year or more before being used to commit identity theft.
  12         Further, once stolen data have been sold or posted on the Web, fraudulent
  13         use of that information may continue for years. As a result, studies that
  14         attempt to measure the harm resulting from data breaches cannot
  15         necessarily rule out all future harm.50
  16         75.      The risk of identity theft is particularly acute where detailed personal
  17   information is stolen, such as the PII that was compromised in the Data Breach.
  18         76.      As the result of the Data Breach, Plaintiffs and class members have
  19   suffered or will suffer economic loss and other actual harm for which they are entitled
  20   to damages, including, but not limited to, the following:
  21         a. identity theft and fraud resulting from theft of their PII;
  22         b. costs associated with the detection and prevention of identity theft and
  23               unauthorized use of their online accounts, including financial accounts;
  24         c. losing the inherent value of their PII;
  25
  26
       49
         Id.
       50
         U.S. Government Accountability Office, Report to Congressional Requesters (June
  27   2007), http://www.gao.gov/new.items/d07737.pdf.

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   1         d. losing the value of Aeries’ explicit and implicit promises of adequate data
   2             security;
   3         e. costs associated with purchasing credit monitoring and identity theft
   4             protection services;
   5         f. unauthorized access to and misuse of their online accounts;
   6         g. unauthorized charges and loss of use of and access to their financial account
   7             funds and costs associated with inability to obtain money from their
   8             accounts or being limited in the amount of money they were permitted to
   9             obtain from their accounts, including missed payments on bills and loans,
  10             late charges and fees, and adverse effects on their credit;
  11         h. lowered credit scores resulting from credit inquiries following fraudulent
  12             activities;
  13         i. costs associated with time spent and the loss of productivity or enjoyment
  14             of one’s life from taking time to address and attempt to mitigate and address
  15             the actual and future consequences of the Data Breach, including
  16             discovering fraudulent charges, cancelling and reissuing cards, addressing
  17             other varied instances of identity theft – such as credit cards, bank accounts,
  18             loans, government benefits, and other services procured using the stolen PII,
  19             purchasing credit monitoring and identity theft protection services, imposing
  20             withdrawal and purchase limits on compromised accounts, updating login
  21             information for online accounts sharing the same login credentials as were
  22             compromised in the Data Breach, and the stress, nuisance, and annoyance
  23             of dealing with the repercussions of the Data Breach;
  24         j. the continued imminent and certainly impending injury flowing from
  25             potential fraud and identity theft posed by their PII being in the possession
  26             of one or more unauthorized third parties; and
  27

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   1         k. continued risk of exposure to hackers and thieves of their PII, which remains
   2               in Aeries’ possession and is subject to further breaches so long as Aeries fails
   3               to undertake appropriate and adequate measures to protect Plaintiffs and
   4               class members.
   5         77.      Additionally, Plaintiffs and class members place significant value in data
   6   security. According to a recent survey conducted by cyber-security company FireEye,
   7   approximately 50% of consumers consider data security to be a main or important
   8   consideration when making purchasing decisions and nearly the same percentage
   9   would be willing to pay more in order to work with a provider that has better data
  10   security. Likewise, 70% of consumers would provide less personal information to
  11   organizations that suffered a data breach.51
  12         78.      The cost of hosting or processing students’, parents’, and guardians PII
  13   on or through Aeries’ databases and systems includes things such as the actual cost of
  14   the servers and employee hours needed to process said transactions. One component
  15   of the cost of using these services is the explicit and implicit promises Aeries made to
  16   protect students’, parents’, and guardians’ PII. Because of the value students and their
  17   parents and guardians place on data privacy and security, companies with robust data
  18   security practices can command higher prices than those who do not. Indeed, if
  19   students, parents, guardians, and school districts did not value their data security and
  20   privacy, companies like Aeries would have no reason to tout their data security efforts
  21   to their actual and potential customers.
  22         79.      Had the victims of the Data Breach including Plaintiffs known the truth
  23   about Aeries’ data security practices—that Aeries would not adequately protect and
  24
  25
  26
       51
         FireEye, Beyond the Bottom Line: The Real Cost of Data Breaches (May 11, 2016),
       https://www.fireeye.com/blog/executive-
  27   perspective/2016/05/beyond_the_bottomli.html.

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   1   store their data—they would have demanded that their school districts not store their
   2   PII on Aeries’ databases or process it through Aeries’ systems.
   3          80.    Plaintiffs and class members are at an imminent risk of fraud, criminal
   4   misuse of their PII, and identity theft for years to come as result of the data breach
   5   and Aeries’ deceptive and unconscionable conduct.
   6                            CLASS ACTION ALLEGATIONS
   7          81.    Pursuant to Federal Rule of Civil Procedure 23(b)(1), (b)(2) and (b)(3),
   8   Plaintiffs seek certification of the following Nationwide Class and Nationwide Minor
   9   Subclass:
  10          82.    Nationwide Class: All students, parents, and guardians in the United
  11   States whose PII was compromised in the Data Breach.
  12          83.    Nationwide Minor Subclass: All minor students in the United States
  13   whose PII was compromised in the Data Breach, as well as all adult individuals in the
  14   United States who provided PII to Aeries while they were minor students and had their
  15   PII compromised in the Data Breach.
  16          84.    The Nationwide Class and the Minor Subclass assert claims against
  17   Aeries for negligence (Count 1), , negligence per se (Count 2), declaratory judgment
  18   (Count 3), breach of confidence (Count 4), breach of contract (Count 5), intrusion
  19   upon seclusion (Count 6), and violation of California’s Unfair Competition Law
  20   (Count 7).
  21          85.    Pursuant to Federal Rules of Civil Procedure 23(b)(1), (b)(2) and (b)(3),
  22   Plaintiffs seek certification of California state claims in the alternative to the nationwide
  23   claims, as well as certification of claims for violations of the California Customer
  24   Records Act (Count 8) and the California Consumer Privacy Act (Count 9), on behalf
  25   of two subclasses of California residents, defined as follows:
  26          86.    California Subclass: All students, parents, and guardians in California
  27   whose PII was compromised in the Data Breach.

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   1          87.    California Minor Subclass: All minor students in California whose PII
   2   was compromised in the Data Breach, as well as all adult individuals in California who
   3   provided PII to Aeries while they were minor students and had their PII compromised
   4   in the Data Breach.
   5          88.    The Nationwide Class, Nationwide Minor Subclass, California Subclass,
   6   and California Minor Subclass are collectively referred to herein as the “Class.”
   7          89.    Excluded from the Class are any school districts or educational agencies
   8   that are Aeries customers, Aeries itself, any entity in which Aeries has a controlling
   9   interest, and Aeries’ officers, directors, legal representatives, successors, subsidiaries,
  10   and assigns. Also excluded from the Class are any judicial officer presiding over this
  11   matter, members of their immediate family, members of their judicial staff, and any
  12   judge sitting in the presiding court system who may hear an appeal of any judgment
  13   entered.
  14          90.    Risk of Inconsistent or Varying Adjudications. Fed. R. Civ. P.
  15   23(b)(1). As the proposed class members include tens, if not hundreds, of thousands
  16   of students and their parents or guardians, there is significant risk of inconsistent or
  17   varying adjudications with respect to individual class members that would establish
  18   incompatible standards of conduct for Aeries. For example, injunctive relief may be
  19   entered in multiple cases, but the ordered relief may vary, causing Aeries to have to
  20   choose between differing means of upgrading its data security infrastructure and
  21   choosing the court order with which it will comply. Class action status is also
  22   warranted because prosecution of separate actions by the members of the Class
  23   would create a risk of adjudications with respect to individual members of the Class
  24   that, as a practical matter, would be dispositive of the interests of other members not
  25   parties to this action, or that would substantially impair or impede their ability to
  26   protect their interests.
  27

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   1          91.    Numerosity. Fed. R. Civ. P. 23(a)(1). Consistent with Rule 23(a)(1),
   2   the members of the Class are so numerous and geographically dispersed that the
   3   joinder of all members is impractical. While the exact number of class members is
   4   unknown to Plaintiffs at this time, Aeries has admitted that 166 databases in Aeries
   5   Hosting were compromised in the Data Breach, suggesting that thousands of students
   6   and their guardians across at least 166 school districts were affected by the Data
   7   Breach, in addition to an unknown number of school districts whose data was stored
   8   on local servers that were affected by the Data Breach.
   9          92.    Commonality and Predominance. Fed. R. Civ. P. 23(a)(2) and
  10   (b)(3). This action involves common questions of law and fact that predominate over
  11   any questions affecting individual class members. The common questions include, but
  12   are not limited to:
  13          a.     Whether Aeries knew or should have known that its computer and data
  14   storage systems were vulnerable to attack;
  15          b.     Whether Aeries omitted or misrepresented material facts regarding the
  16   security of its computer and data storage systems and their inability to protect vast
  17   amounts of sensitive data, including Plaintiffs’ and class members’ PII;
  18          c.     Whether Aeries failed to take adequate and reasonable measures to
  19   ensure such computer and data systems were protected;
  20          d.     Whether Aeries failed to take available steps to prevent and stop the Data
  21   Breach from happening;
  22          e.     Whether Aeries failed to disclose the material facts that it did not have
  23   adequate computer systems and security practices to safeguard PII;
  24          f.     Whether Aeries owed duties to Plaintiffs and class members to protect
  25   their PII;
  26          g.     Whether Aeries owed a duty to provide timely and accurate notice of the
  27   Data Breach to Plaintiffs and class members;

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   1         h.      Whether Aeries breached its duties to protect the PII of Plaintiffs and
   2   class members by failing to provide adequate data security;
   3         i.      Whether Aeries breached its duty to provide timely and accurate notice
   4   of the Data Breach to Plaintiffs and class members;
   5         j.      Whether Aeries’ failure to secure Plaintiffs’ and class members’ PII in the
   6   manner alleged violated federal, state and local laws, or industry standards;
   7         k.      Whether Aeries was negligent, reckless or intentionally indifferent in its
   8   representations to Plaintiffs and class members concerning its security protocols;
   9         l.      Whether Aeries’ conduct and practices described herein amount to acts
  10   of intrusion upon seclusion;
  11         m.      Whether Aeries was negligent in making misrepresentations to Plaintiffs
  12   and class members;
  13         n.      Whether Aeries was negligent in establishing, implementing, and
  14   following security protocols;
  15         o.      Whether the Plaintiffs’ and class members’ PII was compromised and
  16   exposed as a result of the Data Breach and the extent of that compromise and
  17   exposure;
  18         p.      Whether Aeries’ conduct, including its failure to act, resulted in or was
  19   the proximate cause of the Data Breach, resulting in the unauthorized access to and/or
  20   theft of Plaintiffs’ and class members’ PII;
  21         q.      Whether Aeries has a contractual obligation to use reasonable security
  22   measures and whether it complied with such contractual obligation;
  23         r.      Whether Plaintiffs and class members were the intended third-party
  24   beneficiaries of any contractual obligations owed by Aeries;
  25         s.      Whether Aeries’ conduct amounted to violations of California consumer
  26   protection and data breach statutes;
  27

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       CLASS ACTION COMPLAINT                                                                    27
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   1          t.     Whether, as a result of Aeries’ conduct, Plaintiffs and class members face
   2   a significant threat of harm and/or have already suffered harm, and, if so, the
   3   appropriate measure of damages to which they are entitled;
   4          u.     Whether, as a result of Aeries’ conduct, Plaintiffs and class members are
   5   entitled to injunctive, equitable, declaratory and/or other relief, and, if so, the nature
   6   of such relief;
   7          v.     Whether Plaintiffs and class members are entitled to compensatory
   8   damages;
   9          w.     Whether the Plaintiffs and class members are entitled to punitive
  10   damages; and
  11          x.     Whether the Plaintiffs and class members are entitled to statutory
  12   damages.
  13          93.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of
  14   other class members’ claims because Plaintiffs and class members were subjected to
  15   the same allegedly unlawful conduct and damaged in the same way.
  16          94.    Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4),
  17   Plaintiffs are adequate representatives of the Class. All Plaintiffs are members of the
  18   Nationwide Class and the California Subclass, and Plaintiffs D.G. and V.G. are also
  19   members of the Nationwide Minor Subclass and the California Minor Subclass.
  20   Plaintiffs have no conflicts of interest with the Class. Plaintiffs’ counsel are competent
  21   and experienced in litigating class actions, including extensive experience in data breach
  22   and privacy litigation and consumer protection claims. Plaintiffs intends to vigorously
  23   prosecute this case and will fairly and adequately protect the interests of the Class.
  24          95.    Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Rule 23(b)(3), a
  25   class action is superior to any other available means for the fair and efficient
  26   adjudication of this controversy, and no unusual difficulties are likely to be
  27   encountered in the management of this class action. The purpose of the class action

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       CLASS ACTION COMPLAINT                                                                    28
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   1   mechanism is to permit litigation against wrongdoers even when damages to individual
   2   plaintiffs and class members may not be sufficient to justify individual litigation. Here,
   3   the damages suffered by Plaintiffs and the class members are relatively small compared
   4   to the burden and expense required to individually litigate their claims against Aeries,
   5   and thus, individual litigation to redress Aeries’ wrongful conduct would be
   6   impracticable. Individual litigation by each class member would also strain the court
   7   system. Moreover, individual litigation creates the potential for inconsistent or
   8   contradictory judgments, and increases the delay and expense to all parties and the
   9   court system. By contrast, the class action device presents far fewer management
  10   difficulties and provides the benefits of a single adjudication, economies of scale, and
  11   comprehensive supervision by a single court.
  12          96.    Injunctive and Declaratory Relief. Class certification is also
  13   appropriate under Rule 23(b)(2). Aeries, through its uniform conduct, acted or refused
  14   to act on grounds generally applicable to the Class as a whole, making injunctive and
  15   declaratory relief appropriate to the Class as a whole. Moreover, Aeries continues to
  16   maintain its inadequate security practices, retains possession of Plaintiffs’ and the class
  17   members’ PII, and has not been forced to change its practices or to relinquish PII by
  18   nature of other civil suits or government enforcement actions, thus making injunctive
  19   and declaratory relief a live issue and appropriate to the Class as a whole.
  20                                         *      *      *
  21                                             Count 1
  22                                       NEGLIGENCE
  23     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
  24    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
  25                                 the California Minor Subclass
  26          97.    Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  27   if fully alleged herein.

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       CLASS ACTION COMPLAINT                                                                    29
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   1          98.    Aeries, in offering educational software, knew that Plaintiffs and class
   2   members’ sensitive PII would be stored or processed by Aeries systems and databases,
   3   including in Aeries Hosting. Aeries in fact stored (i.e., for school districts using Aeries
   4   Hosting) and/or processed (i.e., for school districts using Aeries Hosting and for
   5   school districts using local servers) this PII through and on its computer systems
   6   and/or databases. Plaintiffs D.G. and V.G. and the Nationwide Minor and California
   7   Minor Subclass members are a particularly vulnerable and defenseless group of Aeries
   8   users and are more significantly damaged and imminently threatened to be damaged
   9   as a result of Aeries’ negligence described herein because, without limitation, they are
  10   especially: (1) attractive targets to cyber criminals; (2) vulnerable to fraudulent activity
  11   and identity theft with respect to their stolen PII; (3) defenseless to protect themselves
  12   from such theft, fraud, or identity theft; and (4) subject to prolonged surreptitious
  13   fraud and identity theft following the theft of their data, all of which is well
  14   documented in academic and government-issued materials, by experts in the field, and
  15   by the media.
  16          99.    By collecting, storing, and using this data, Aeries had a duty of care to
  17   Plaintiffs and class members to exercise reasonable care in obtaining, retaining,
  18   securing, safeguarding, deleting, and protecting this PII in Aeries’ possession from
  19   being compromised, lost, stolen, accessed, and misused by unauthorized persons.
  20   More specifically, this duty included, among other things: (a) designing, maintaining,
  21   and testing Aeries’ security systems and data storage architecture to ensure that
  22   Plaintiffs’ and class members’ PII was adequately secured and protected; (b)
  23   implementing processes that would detect an unauthorized breach of Aeries’ security
  24   systems and data storage architecture in a timely manner; (c) timely acting on all
  25   warnings and alerts, including public information, regarding Aeries’ security
  26   vulnerabilities and potential compromise of the PII of Plaintiffs and class members;
  27   (d) maintaining data security measures consistent with industry standards and

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       CLASS ACTION COMPLAINT                                                                    30
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   1   applicable state and federal law; and (e) timely and adequately informing Plaintiffs and
   2   class members if and when a data breach occurred notwithstanding undertaking (a)
   3   through (d) above.
   4         100. Aeries had common law duties to prevent foreseeable harm to Plaintiffs
   5   and class members. These duties existed because Plaintiffs and class members were
   6   the foreseeable and probable victims of any inadequate security practices. In fact, not
   7   only was it foreseeable that Plaintiffs and class members would be harmed by the
   8   failure to protect their PII because hackers routinely attempt to steal such information
   9   and use it for nefarious purposes, Aeries knew that it was more likely than not Plaintiffs
  10   and other class members would be harmed by such theft.
  11         101. Aeries had a duty to monitor, supervise, control, or otherwise provide
  12   oversight to safeguard the PII that was collected, stored, and processed by Aeries
  13   computer systems.
  14         102. Aeries’ duties to use reasonable security measures also arose as a result of
  15   the special relationship that existed between Aeries, on the one hand, and Plaintiffs
  16   and class members, on the other hand. The special relationship arose because Plaintiffs
  17   and class members entrusted Aeries with their PII by virtue of their participation in all
  18   aspects of school life. Aeries alone could have ensured that its security systems and
  19   data storage architecture were sufficient to prevent or minimize the Data Breach.
  20         103. Aeries’ duties to use reasonable data security measures also arose under
  21   Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which
  22   prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted and
  23   enforced by the FTC, the unfair practice of failing to use reasonable measures to
  24   protect PII. Various FTC publications and data security breach orders further form
  25   the basis of Aeries’ duties. In addition, individual states have enacted statutes based
  26   upon the FTC Act that also created a duty.
  27

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       CLASS ACTION COMPLAINT                                                                    31
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   1          104. Aeries owed heightened duties to Plaintiffs D.G. and V.G. and the
   2   Nationwide Minor and California Minor Subclass members, and Aeries was aware of
   3   the heightened vulnerability and damage that would be suffered by Plaintiffs D.G. and
   4   V.G. and the Nationwide Minor and California Minor Subclass members in the event
   5   of a data breach.
   6          105. Aeries knew or should have known that its computer systems and data
   7   storage architecture were vulnerable to unauthorized access and targeting by hackers
   8   for the purpose of stealing and misusing confidential PII.
   9          106. Aeries knew or should have known that a breach of its systems and data
  10   storage architecture would inflict millions of dollars of damages upon Plaintiffs and
  11   the Class, and Aeries was therefore charged with a duty to adequately protect this
  12   critically sensitive information.
  13          107. Aeries breached the duties it owed to Plaintiffs and class members
  14   described above, including the heightened duties owed to Plaintiffs D.G. and V.G. and
  15   the Nationwide Minor and California Minor Subclass members, and thus was
  16   negligent. Aeries breached these duties by, among other things, failing to: (a) exercise
  17   reasonable care and implement adequate security systems, protocols and practices
  18   sufficient to protect the PII of Plaintiffs and class members; (b) detect the breach while
  19   it was ongoing; and (c) maintain security systems consistent with industry standards.
  20          108. Aeries also failed to exercise reasonable care when it falsely conveyed
  21   information to its Hosted School District Customers in its April 27, 2020 “Notice of
  22   Data Breach,” which misrepresentation failed to sufficiently convey the scope of PII
  23   potentially compromised the Data Breach; provided the thieves and/or subsequent
  24   unauthorized recipients of the stolen information with additional time and cover to
  25   further purloin and re-sell the stolen PII belonging to Plaintiffs and the Class; provided
  26   the thieves and the purchasers and/or other subsequent unauthorized recipients with
  27   an opportunity to directly defraud Plaintiffs and the Class; failed to adequately apprise

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       CLASS ACTION COMPLAINT                                                                    32
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   1   its school district customers of the need to promptly notify Plaintiffs and the Class of
   2   the fact that their PII was compromised and in imminent jeopardy of falling further
   3   into the hands of cyber criminals; and failed to directly notify Plaintiffs and the Class
   4   of the same.
   5          109. But for Aeries’ wrongful and negligent breach of its duties owed to
   6   Plaintiffs and class members, their PII would not have been compromised.
   7          110. As a direct and proximate result of Aeries’ negligence, Plaintiffs and class
   8   members have been injured and are entitled to damages in an amount to be proven at
   9   trial. Such injuries include one or more of the following: ongoing, imminent, certainly
  10   impending threat of identity theft crimes, fraud, and other misuse, resulting in
  11   monetary loss and economic harm; actual identity theft crimes, fraud, and other
  12   misuse, resulting in monetary loss and economic harm; loss of the value of their privacy
  13   and the confidentiality of the stolen PII; illegal sale of the compromised PII on the
  14   black market; mitigation expenses and time spent on credit monitoring, identity theft
  15   insurance, and credit freezes and unfreezes; time spent in response to the Data Breach
  16   investigating the nature of the Data Breach not fully disclosed by Aeries, reviewing
  17   bank statements, payment card statements, and credit reports; expenses and time spent
  18   initiating fraud alerts; decreased credit scores and ratings; lost work time; lost value of
  19   the PII; lost benefit of their bargains and overcharges for services; and other economic
  20   and non-economic harm.
  21                                            Count 2
  22                                  NEGLIGENCE PER SE
  23     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
  24    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
  25                                 the California Minor Subclass
  26          111. Plaintiffs repeats the allegations in paragraphs 1 – 96 in this Complaint,
  27   as if fully alleged herein.

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       CLASS ACTION COMPLAINT                                                                    33
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   1          112. Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices
   2   in or affecting commerce” including, as interpreted and enforced by the FTC, the
   3   unfair act or practice by Aeries of failing to use reasonable measures to protect PII.
   4   Various FTC publications and orders also form the basis of Aeries’ duty.
   5          113. Aeries violated Section 5 of the FTC Act (and similar state statutes) by
   6   failing to use reasonable measures to protect PII and not complying with industry
   7   standards. Aeries’ conduct was particularly unreasonable given the nature and amount
   8   of PII obtained and stored and the foreseeable consequences of a data breach on
   9   Aeries’ systems.
  10          114. Aeries’ violation of Section 5 of the FTC Act (and similar state statutes)
  11   constitutes negligence per se.
  12          115. Plaintiffs and class members are consumers within the class of persons
  13   Section 5 of the FTC Act (and similar state statutes) were intended to protect.
  14          116. Moreover, the harm that has occurred is the type of harm the FTC Act
  15   (and similar state statutes) was intended to guard against. Indeed, the FTC has pursued
  16   over fifty enforcement actions against businesses which, as a result of defendants’
  17   failure to employ reasonable data security measures and avoid unfair and deceptive
  18   practices, caused the same harm suffered by Plaintiffs and class members.
  19          117. As a direct and proximate result of Aeries’ negligence, Plaintiffs and class
  20   members have been injured and are entitled to damages in an amount to be proven at
  21   trial. Such injuries include one or more of the following: ongoing, imminent, certainly
  22   impending threat of identity theft crimes, fraud, and other misuse, resulting in
  23   monetary loss and economic harm; actual identity theft crimes, fraud, and other
  24   misuse, resulting in monetary loss and economic harm; loss of the value of their privacy
  25   and the confidentiality of the stolen PII; illegal sale of the compromised PII on the
  26   black market; mitigation expenses and time spent on credit monitoring, identity theft
  27   insurance, and credit freezes and unfreezes; time spent in response to the Data Breach

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       CLASS ACTION COMPLAINT                                                                    34
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   1   investigating the nature of the Data Breach not fully disclosed by Aeries, reviewing
   2   bank statements, payment card statements, and credit reports; expenses and time spent
   3   initiating fraud alerts; decreased credit scores and ratings; lost work time; lost value of
   4   the PII; lost benefit of their bargains and overcharges for services; and other economic
   5   and non-economic harm.
   6                                            Count 3
   7                              DECLARATORY JUDGMENT
   8     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
   9    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
  10                                 the California Minor Subclass
  11          118. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  12   if fully alleged herein.
  13          119. Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., the Court
  14   is authorized to enter a judgment declaring the rights and legal relations of the parties
  15   and grant further necessary relief. Furthermore, the Court has broad authority to
  16   restrain acts, such as here, that are tortious and violate the terms of the federal and
  17   state statutes described in this Complaint.
  18          120. An actual controversy has arisen in the wake of the Data Breach
  19   regarding Aeries’ present and prospective common law and other duties to reasonably
  20   safeguard its users’ PII, and whether Aeries is currently maintaining data security
  21   measures adequate to protect Plaintiffs and class members from further data breaches
  22   that compromise their PII. Plaintiffs and class members remain at imminent risk that
  23   further compromises of their PII will occur in the future. This is true even if they are
  24   not actively using Aeries’ products or services.
  25          121. Pursuant to its authority under the Declaratory Judgment Act, this Court
  26   should enter a judgment declaring, among other things, the following:
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       CLASS ACTION COMPLAINT                                                                    35
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   1          a.     Aeries continues to owe a legal duty to secure users’ PII and to timely
   2                 notify consumers of a data breach under the common law, Section 5 of
   3                 the FTC Act, and various state statutes;
   4          b.     Aeries continues to breach this legal duty by failing to employ reasonable
   5                 measures to secure Plaintiffs and class members’ PII.
   6          122. The Court also should issue corresponding prospective injunctive relief
   7   pursuant to 28 U.S.C. §2202, requiring Aeries to employ adequate security practices
   8   consistent with law and industry standards to protect its users’ PII.
   9          123. If an injunction is not issued, Plaintiffs and class members will suffer
  10   irreparable injury, and lack an adequate legal remedy, in the event of another data
  11   breach of Aeries. The risk of another such breach is real, immediate, and substantial.
  12   If another breach occurs, Plaintiffs and class members will not have an adequate
  13   remedy at law because many of the resulting injuries are not readily quantified and they
  14   will be forced to bring multiple lawsuits to rectify the same conduct.
  15          124. The hardship to Plaintiffs and class members if an injunction does not
  16   issue exceeds the hardship to Aeries if an injunction is issued. Among other things, if
  17   another data breach occurs at Aeries, Plaintiffs and class members will likely be
  18   subjected to fraud, identify theft, and other harms described herein. On the other hand,
  19   the cost to Aeries of complying with an injunction by employing reasonable
  20   prospective data security measures is relatively minimal, and Aeries has a pre-existing
  21   legal obligation to employ such measures.
  22          125. Issuance of the requested injunction will not disserve the public interest.
  23   To the contrary, such an injunction would benefit the public by preventing another
  24   data breach at Aeries, thus eliminating additional injuries that would result to Plaintiffs,
  25   class members, and the hundreds of thousands of students and guardians whose PII
  26   would be further compromised.
  27

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       CLASS ACTION COMPLAINT                                                                    36
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   1                                            Count 4
   2                              BREACH OF CONFIDENCE
   3     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
   4    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
   5                                 the California Minor Subclass
   6          126. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
   7   if fully alleged herein.
   8          127. Plaintiffs D.G. and V.G. and the Nationwide Minor and California Minor
   9   Subclass members are a particularly vulnerable and defenseless group of Aeries users
  10   and are more significantly damaged and imminently threatened to be damaged as a
  11   result of Aeries’ breach of confidence described herein because, without limitation,
  12   they are especially: (1) attractive targets to cyber criminals; (2) vulnerable to fraudulent
  13   activity and identity theft with respect to their stolen PII; (3) defenseless to protect
  14   themselves from such theft, fraud, or identity theft; and (4) subject to prolonged
  15   surreptitious fraud and identity theft following the theft of their data, all of which is
  16   well documented in academic and government-issued materials, by experts in the field,
  17   and by the media.
  18          128. At all times during Plaintiffs’ and class members’ interactions with Aeries,
  19   Aeries was fully aware of the confidential and sensitive nature of Plaintiffs’ and class
  20   members’ PII.
  21          129. As alleged herein and above, Aeries’ relationship with Plaintiffs and class
  22   members was governed by terms and expectations that Plaintiffs’ and class members’
  23   PII would be collected, stored, and protected in confidence, and would not be
  24   disclosed to the public or any unauthorized third parties.
  25          130. Plaintiffs and class members provided their respective PII to Aeries with
  26   the explicit and implicit understandings that Aeries would protect and not permit their
  27   PII to be disseminated to the public or any unauthorized parties.

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       CLASS ACTION COMPLAINT                                                                    37
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   1          131. Plaintiffs and class members also provided their respective PII to Aeries
   2   with the explicit and implicit understandings that Aeries would take precautions to
   3   protect the PII from unauthorized disclosure, such as following basic principles of
   4   encryption and information security practices.
   5          132. Aeries voluntarily received in confidence Plaintiffs’ and class members’
   6   PII with the understanding that PII would not be disclosed or disseminated to the
   7   public or any unauthorized third parties.
   8          133. Due to Aeries’ failure to prevent, detect, and avoid the Data Breach from
   9   occurring by following best information security practices to secure Plaintiffs’ and class
  10   members’ PII, Plaintiffs’ and class members’ PII was disclosed and misappropriated
  11   to the public and unauthorized third parties beyond Plaintiffs’ and class members’
  12   confidence, and without their express permission.
  13          134. But for Aeries’ disclosure of Plaintiffs’ and class members’ PII in
  14   violation of the parties’ understanding of confidence, their PII would not have been
  15   compromised, stolen, viewed, accessed, and/or used by unauthorized third parties.
  16   The Data Breach was the direct and legal cause of the theft of Plaintiffs’ and class
  17   members’ PII, as well as the resulting damages.
  18          135. The injury and harm Plaintiffs and class members suffered was the
  19   reasonably foreseeable result of Aeries’ unauthorized disclosure of Plaintiffs’ and class
  20   members’ PII. Aeries knew its computer systems and technologies for accepting,
  21   securing, and storing Plaintiffs’ and class members’ PII had serious security
  22   vulnerabilities because Aeries failed to observe even basic information security
  23   practices or correct known security vulnerabilities.
  24          136. As a direct and proximate result of Aeries’ breaches of confidence,
  25   Plaintiffs and class members have been injured and were damaged as discussed herein
  26   and as will be proven at trial.
  27

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       CLASS ACTION COMPLAINT                                                                    38
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   1          137. Moreover, Plaintiffs D.G. and V.G. and the Nationwide Minor and
   2   California Minor Subclass members are a particularly vulnerable and defenseless group
   3   of Aeries’ users and are more significantly damaged and imminently threatened to be
   4   damaged as a result of Aeries’ breach of confidence described herein.
   5          138. As a direct and proximate result of Aeries’ breach of confidence,
   6   Plaintiffs and class members have been injured and are entitled to damages in an
   7   amount to be proven at trial. Such injuries include one or more of the following:
   8   ongoing, imminent, certainly impending threat of identity theft crimes, fraud, and other
   9   misuse, resulting in monetary loss and economic harm; actual identity theft crimes,
  10   fraud, and other misuse, resulting in monetary loss and economic harm; loss of the
  11   value of their privacy and the confidentiality of the stolen PII; illegal sale of the
  12   compromised PII on the black market; mitigation expenses and time spent on credit
  13   monitoring, identity theft insurance, and credit freezes and unfreezes; time spent in
  14   response to the Data Breach investigating the nature of the Data Breach not fully
  15   disclosed by Aeries, reviewing bank statements, payment card statements, and credit
  16   reports; expenses and time spent initiating fraud alerts; decreased credit scores and
  17   ratings; lost work time; lost value of the PII; lost benefit of their bargains and
  18   overcharges for services; and other economic and non-economic harm.
  19                                            Count 5
  20                                BREACH OF CONTRACT
  21     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
  22    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
  23                                 the California Minor Subclass
  24          139. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  25   if fully alleged herein.
  26
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       CLASS ACTION COMPLAINT                                                                    39
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   1          140. Aeries’ Privacy Policy (the “Privacy Policy”) is an agreement between
   2   Aeries and its school district customers. Plaintiffs and class members are the clear
   3   intended third-party beneficiaries of the Privacy Policy.
   4          141. The Privacy Policy states that it applies to persons “using Aeries
   5   products,” and it details how Aeries will both protect and use the PII provided by users
   6   of Aeries’ products and services, including PII stored on or processed through Aeries’
   7   databases and systems that was provided by its school district clients (and their
   8   component educational institutions).
   9          142. The Privacy Policy provides detailed information about what types of PII
  10   will be shared and with what entities. It further promises that Aeries “takes various
  11   security measures—physical, electronic, and procedural—to help defend against the
  12   unauthorized access and disclosure of your information,” that its “employees are
  13   required to comply with information security safeguards,” and that its “systems are
  14   protected by technological measures to help prevent unauthorized individuals from
  15   gaining access.”
  16          143. Aeries’ school district clients on the one hand and Aeries on the other
  17   formed a contract pursuant to the Privacy Policy when those school district clients
  18   used Aeries products and services for the school districts’ students, staff, and students’
  19   guardians. Plaintiff and class members became the intended third-party beneficiaries
  20   of a direct and substantial benefit under said Privacy Policy contract when they
  21   provided PII to Aeries subject to the Privacy Policy. The clear or manifest intent of
  22   Aeries and its school district clients to benefit Plaintiffs and class members is evidenced
  23   by references in the Privacy Policy to its applicability to Plaintiff and class members’
  24   PII.
  25          144. Plaintiffs and class members are entitled to enforce the Privacy Policy
  26   contract as third-party beneficiaries.
  27

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       CLASS ACTION COMPLAINT                                                                    40
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   1          145. Aeries breached the Privacy Policy contract, to the detriment of Plaintiffs
   2   and class members, by failing to protect their PII. Specifically, Aeries (1) failed to use
   3   reasonable measures to protect that information; and (2) disclosed that information to
   4   unauthorized third parties, in violation of the agreement.
   5          146. As a direct result of Aeries’ breach of contract, Plaintiffs and the Class
   6   have suffered injury, have been damaged as described herein and as will be proven at
   7   trial, and are entitled to damages in an amount to be proven at trial.
   8                                            Count 6
   9                              INTRUSION UPON SECLUSION
  10    Against Aeries on Behalf of Plaintiffs and all members of the Nationwide Class and
  11                                the Nationwide Minor Subclass
  12     or Alternatively, on behalf of Plaintiffs, the California Subclass, and the California
  13                                        Minor Subclass
  14          147. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  15   if fully alleged herein.
  16          148. Plaintiffs D.G. and V.G. and the Nationwide Minor and California Minor
  17   Subclass members are a particularly vulnerable and defenseless group of Aeries users
  18   and are more significantly damaged and imminently threatened to be damaged as a
  19   result of Aeries’ intrusion upon seclusion described herein because, without limitation,
  20   they are especially: (1) attractive targets to cyber criminals; (2) vulnerable to fraudulent
  21   activity and identity theft with respect to their stolen PII; (3) defenseless to protect
  22   themselves from such theft, fraud, or identity theft; and (4) subject to prolonged
  23   surreptitious fraud and identity theft following the theft of their data, all of which is
  24   well documented in academic and government-issued materials, by experts in the field,
  25   and by the media.
  26          149. Plaintiffs and class members had a reasonable expectation of privacy in
  27   the PII that Aeries mishandled.

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       CLASS ACTION COMPLAINT                                                                    41
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   1            150. By failing to keep Plaintiffs’ and class members’ private information safe,
   2   and by misusing and/or disclosing said private information to unauthorized parties for
   3   unauthorized use, Aeries invaded Plaintiffs’ and class members’ privacy by:
   4               a. Intruding into Plaintiffs’ and class members’ private affairs in a manner
   5                  that would be highly offensive to a reasonable person; and
   6               b. Publicizing private facts about Plaintiffs and class members, which is
   7                  highly offensive to a reasonable person.
   8            151. Aeries knew, or acted with reckless disregard of the fact that, a reasonable
   9   person in Plaintiffs’ position would consider Aeries’ actions highly offensive.
  10            152. Aeries invaded Plaintiffs’ and class members’ right to privacy and
  11   intruded into Plaintiffs’ and class members’ private affairs by misusing and/or
  12   disclosing their private information without their informed, voluntary, affirmative, and
  13   clear consent.
  14            153. As a proximate result of such misuse and disclosures, Plaintiffs’ and class
  15   members’ reasonable expectation of privacy in their private information was unduly
  16   frustrated and thwarted. Aeries’ conduct amounted to a serious invasion of Plaintiffs’
  17   and class members’ protected privacy interests.
  18            154. In failing to protect Plaintiffs’ private information, and in misusing
  19   and/or disclosing their private information, Aeries has acted with malice and
  20   oppression and in conscious disregard of Plaintiffs’ and class members’ rights to have
  21   such information kept confidential and private, in failing to provide adequate notice,
  22   and in placing its own economic, corporate, and legal interests above the privacy
  23   interests of its hundreds of thousands of users. Plaintiffs and class members, therefore,
  24   seek an award of damages, including punitive damages, on behalf of Plaintiffs and the
  25   Class.
  26            155. As child victims, Plaintiffs and the Nationwide Minor and California
  27   Minor Subclass members have suffered greater harm from Aeries’ privacy intrusion

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       CLASS ACTION COMPLAINT                                                                    42
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   1   than adult victims and are thus entitled to increased damages, including punitive
   2   damages.
   3                                             Count 7
   4                   CALIFORNIA’S UNFAIR COMPETITION LAW
   5                              Cal. Bus. & Prof. Code §§ 17200, et seq.
   6     Against Aeries on Behalf of Plaintiffs, the Nationwide Class, and the Nationwide
   7    Minor Subclass or Alternatively, on behalf of Plaintiffs, the California Subclass, and
   8                                  the California Minor Subclass
   9          156. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  10   if fully alleged herein.
  11          157. Aeries is a “person” as defined by Cal. Bus. & Prof. Code § 17201.
  12          158. Aeries violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by
  13   engaging in unlawful, unfair, and deceptive business acts and practices.
  14          159. Aeries’ unfair acts and practices include:
  15              a. Aeries failed to implement and maintain reasonable security measures to
  16                 protect Plaintiffs’ and class members’ PII from unauthorized disclosure,
  17                 release, data breaches, and theft, which was a direct and proximate cause
  18                 of the Data Breach. Aeries failed to identify foreseeable security risks,
  19                 remediate identified security risks, and adequately improve security
  20                 following previous cybersecurity incidents in the education sector. This
  21                 conduct, with little if any utility, is unfair when weighed against the harm
  22                 to Plaintiffs and class members whose PII has been compromised.
  23              b. Aeries’ failure to implement and maintain reasonable security measures
  24                 also was contrary to legislatively declared public policy that seeks to
  25                 protect consumers’ data and ensure that entities that are trusted with it
  26                 use appropriate security measures. These policies are reflected in laws,
  27                 including the FTC Act, 15 U.S.C. § 45, California’s Consumer Records

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       CLASS ACTION COMPLAINT                                                                    43
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   1                 Act, Cal. Civ. Code §§ 1798.81.5 et seq., and California’s Consumer
   2                 Privacy Act, Cal. Civ. Code §§ 1798.100 et seq.
   3             c. Aeries’ failure to implement and maintain reasonable security measures
   4                 also lead to substantial consumer injuries, as described above, that are not
   5                 outweighed by any countervailing benefits to consumers or competition.
   6                 Moreover, because consumers could not know of Aeries’ inadequate
   7                 security, consumers could not have reasonably avoided the harms that
   8                 Aeries caused.
   9             d. Engaging in unlawful business practices by violating Cal. Civ. Code
  10                 § 1798.82.
  11         160. Aeries has engaged in “unlawful” business practices by violating multiple
  12   laws, including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5
  13   (requiring reasonable data security measures) and 1798.82 (requiring timely breach
  14   notification), California’s Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780, et
  15   seq., the FTC Act, 15 U.S.C. § 45, California’s Consumer Privacy Act, Cal. Civ. Code
  16   §§ 1798.100, et seq., and California common law.
  17         161. Aeries’ unlawful, unfair, and deceptive acts and practices include:
  18             a. Failing to implement and maintain reasonable security and privacy
  19                 measures to protect Plaintiffs’ and class members’ PII, which was a direct
  20                 and proximate cause of the Data Breach;
  21             b. Failing to identify foreseeable security and privacy risks, remediate
  22                 identified security and privacy risks, and adequately improve security and
  23                 privacy measures following previous cybersecurity incidents in the
  24                 education sector, which was a direct and proximate cause of the Data
  25                 Breach;
  26             c. Failing to comply with common law and statutory duties pertaining to
  27                 the security and privacy of Plaintiffs’ and class members’ PII, including

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       CLASS ACTION COMPLAINT                                                                    44
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   1                 duties imposed by the FTC Act, 15 U.S.C. § 45, California’s Customer
   2                 Records Act, Cal. Civ. Code §§ 1798.80, et seq., which was a direct and
   3                 proximate cause of the Data Breach;
   4             d. Misrepresenting that it would protect the privacy and confidentiality of
   5                 Plaintiffs’ and class members’ PII, including by implementing and
   6                 maintaining reasonable security measures
   7             e. Misrepresenting that it would comply with common law and statutory
   8                 duties pertaining to the security and privacy of Plaintiffs’ and class
   9                 members’ PII, including duties imposed by the FTC Act, 15 U.S.C. § 45,
  10                 and California’s Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq.;
  11                 and California’s Consumer Privacy Act, Cal. Civ. Code §§ 1798.100 et seq.
  12             f. Omitting, suppressing, and concealing the material fact that it did not
  13                 reasonably or adequately secure Plaintiffs’ and class members’ PII; and
  14             g. Omitting, suppressing, and concealing the material fact that it did not
  15                 comply with common law and statutory duties pertaining to the security
  16                 and privacy of Plaintiffs’ and class members’ PII, including duties
  17                 imposed by the FTC Act, 15 U.S.C. § 45; California’s Customer Records
  18                 Act, Cal. Civ. Code §§ 1798.80, et seq.; and California’s Consumer Privacy
  19                 Act, Cal. Civ. Code §§ 1798.100 et seq.
  20         162. Aeries’ representations and omissions were material because they were
  21   likely to deceive reasonable consumers about the adequacy of Aeries’ data security and
  22   ability to protect the confidentiality of consumers’ PII.
  23         163. Aeries intended to mislead Plaintiffs and class members and induce them
  24   to rely on its misrepresentations and omissions.
  25         164. Had Aeries disclosed to Plaintiff and class members that its data systems
  26   were not secure and, thus, vulnerable to attack, Aeries would have been unable to
  27   continue in business and it would have been forced to adopt reasonable data security

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       CLASS ACTION COMPLAINT                                                                    45
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   1   measures and comply with the law. Instead, Aeries received, maintained, and compiled
   2   Plaintiffs’ and class members’ PII as part of the services Aeries provided and for which
   3   its school district customers (and through them Plaintiffs class members) paid without
   4   advising its school district customers, Plaintiffs, and class members that Aeries’ data
   5   security practices were insufficient to maintain the safety and confidentiality of
   6   Plaintiffs’ and class members’ PII. Accordingly, Plaintiffs and class members acted
   7   reasonably in relying on Aeries’ misrepresentations and omissions, the truth of which
   8   they could not have discovered.
   9          165. Aeries acted intentionally, knowingly, and maliciously to violate
  10   California’s Unfair Competition Law, and recklessly disregarded Plaintiffs’ and class
  11   members’ rights. Past breaches within the education sector put Aeries on notice that
  12   its security and privacy protections were inadequate.
  13          166. As a direct and proximate result of Aeries’ unfair, unlawful, and
  14   fraudulent acts and practices, Plaintiffs and class members have suffered and will
  15   continue to suffer injury, ascertainable losses of money or property, and monetary and
  16   non-monetary damages as described herein and as will be proved at trial.
  17          167. Plaintiffs and class members seek all monetary and non-monetary relief
  18   allowed by law, including restitution of all profits stemming from Aeries’ unfair,
  19   unlawful, and fraudulent business practices or use of their PII; declaratory relief;
  20   reasonable attorneys’ fees and costs under California Code of Civil Procedure § 1021.5;
  21   injunctive relief; and other appropriate equitable relief.
  22          168. As child victims, Plaintiffs D.G. and V.G. and Nationwide Minor and
  23   California Minor Subclass members have suffered greater harm from Aeries’ violation
  24   of the California Unfair Competition Law than adult victims.
  25
  26
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       CLASS ACTION COMPLAINT                                                                    46
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   1                                            Count 8
   2                      CALIFORNIA CUSTOMER RECORDS ACT
   3                                Cal. Civ. Code §§ 1798.80, et seq.
   4     Against Aeries on Behalf of Plaintiffs, the California Subclass, and the California
   5                                        Minor Subclass
   6          169. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
   7   if fully alleged herein.
   8          170. “[T]o ensure that Personal Information about California residents is
   9   protected,” the California legislature enacted Cal. Civ. Code § 1798.81.5, which
  10   requires that any business that “owns, licenses, or maintains Personal Information
  11   about a California resident shall implement and maintain reasonable security
  12   procedures and practices appropriate to the nature of the information, to protect the
  13   Personal Information from unauthorized access, destruction, use, modification, or
  14   disclosure.”
  15          171. Aeries is a business that owns, maintains, and licenses Personal
  16   Information, within the meaning of Cal. Civ. Code § 1798.81.5, about Plaintiffs and
  17   California Subclass and California Minor Subclass members.
  18          172. Businesses that own or license computerized data that includes Personal
  19   Information are required to notify California residents when their Personal
  20   Information has been acquired (or is reasonably believed to have been acquired) by
  21   unauthorized persons in a data security breach “in the most expedient time possible
  22   and without unreasonable delay.” Cal. Civ. Code § 1798.82. Among other
  23   requirements, the security breach notification must include “the types of Personal
  24   Information that were or are reasonably believed to have been the subject of the
  25   breach.” Cal. Civ. Code § 1798.82.
  26          173. Aeries is a business that owns or licenses computerized data that includes
  27   Personal Information as defined by Cal. Civ. Code § 1798.80.

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       CLASS ACTION COMPLAINT                                                                    47
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   1          174. Plaintiffs’ and California Subclass and California Minor Subclass
   2   members’ Personal Information includes Personal Information as covered by Cal. Civ.
   3   Code § 1798.82.
   4          175. Because Aeries reasonably believed that Plaintiffs’ and California
   5   Subclass and California Minor Subclass members’ Personal Information was acquired
   6   by unauthorized persons during the Data Breach, Aeries had an obligation to disclose
   7   the Data Breach in a timely and accurate fashion as mandated by Cal. Civ. Code
   8   § 1798.82. Indeed, Aeries’ own privacy policy states that it would provide affected
   9   individuals with notice of a data breach.
  10          176. By failing to disclose the Data Breach in a timely and accurate manner,
  11   Aeries violated Cal. Civ. Code § 1798.82.
  12          177. As a direct and proximate result of Aeries’ violations of the Cal. Civ. Code
  13   §§ 1798.81.5 and 1798.82, Plaintiffs and California Subclass and California Minor
  14   Subclass members suffered damages, as described above and as will be proven at trial.
  15          178. Plaintiffs and California Subclass and California Minor Subclass
  16   members seek relief under Cal. Civ. Code § 1798.84, including actual damages and
  17   injunctive relief.
  18                                            Count 9
  19                        CALIFORNIA CONSUMER PRIVACY ACT
  20                               Cal. Civ. Code §§ 1798.100 et seq.
  21     Against Aeries on Behalf of Plaintiffs, the California Subclass, and the California
  22                                        Minor Subclass
  23          179. Plaintiffs repeat the allegations in paragraphs 1 – 96 in this Complaint, as
  24   if fully alleged herein.
  25          180. Plaintiffs and California Subclass and California Minor Subclass
  26   members are “consumer[s]” as that term is defined in Cal. Civ. Code. § 1798.140(g).
  27

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       CLASS ACTION COMPLAINT                                                                    48
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   1           181. Aeries is a “business” as that term is defined in Cal. Civ. Code.
   2   § 1798.140(c).
   3           182. Plaintiffs’ and California Subclass and California Minor Subclass
   4   members’ PII is “nonencrypted and nonredacted personal information” as that term
   5   is used in Cal. Civ. Code § 1798.150(a)(1).
   6           183. The Data Breach constitutes “an unauthorized access and exfiltration,
   7   theft, or disclosure” pursuant to Cal. Civ. Code § 1798.150(a)(1).
   8           184. Aeries had a duty to implement and maintain reasonable security
   9   procedures and practices appropriate to the nature of the Plaintiffs’ and California
  10   Subclass and California Minor Subclass Members’ PII to protect said PII.
  11           185. Aeries breached the duty it owed to Plaintiffs and California Subclass
  12   Members described above, including the heightened duty owed to Plaintiffs D.G. and
  13   V.G. and the California Minor Subclass members. Aeries breached these duties by,
  14   among other things, failing to: (a) exercise reasonable care and implement adequate
  15   security systems, protocols and practices sufficient to protect the PII of Plaintiffs and
  16   California Subclass and California Minor Subclass Members; (b) detect the breach
  17   while it was ongoing; and (c) maintain security systems consistent with industry
  18   standards.
  19           186. Aeries’ breach of the duty it owed to Plaintiffs and California Subclass
  20   and California Minor Subclass Members described above was the direct and proximate
  21   cause of the Data Breach. As a result, Plaintiffs and California Subclass and California
  22   Minor Subclass members suffered damages, as described above and as will be proven
  23   at trial.
  24           187. Plaintiffs seek injunctive relief in the form of an order enjoining Aeries
  25   from continuing the practices that constituted its breach of the duty owed to Plaintiffs
  26   and California Subclass and California Minor Subclass Members as described above.
  27   Concurrently with the filing of this Complaint, Plaintiffs are serving a letter of notice

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       CLASS ACTION COMPLAINT                                                                    49
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   1   on Aeries pursuant to Cal. Civ. Code § 1798.150(b) and anticipates amending this
   2   Complaint to seek statutory damages upon receipt of a written statement from Aeries
   3   in response to that letter of notice.
   4                                 REQUEST FOR RELIEF
   5          WHEREFORE, Plaintiffs, individually and on behalf of all class members
   6   proposed in this Complaint, respectfully request that the Court enter judgment in their
   7   favor and against Aeries as follows:
   8      1) For an Order certifying the Nationwide Class, the Nationwide Minor Subclass,
   9          the California Subclass, and the California Minor Subclass, as defined herein,
  10          and appointing Plaintiffs and Plaintiffs’ counsel to represent the Class as alleged
  11          herein;
  12      2) For injunctive and other equitable relief as is necessary to protect the interests
  13          of Plaintiffs and class members, including but not limited to an order:
  14          a) Prohibiting Aeries from engaging in the wrongful and unlawful acts
  15             described herein;
  16          b) Requiring Aeries to protect, including through adequate encryption, all data
  17             collected through the course of its business in accordance with all applicable
  18             regulations, industry standards, and federal, state, or local laws;
  19          c) Requiring Aeries to delete, destroy, and purge the PII of Plaintiffs and class
  20             members unless Aeries can provide the Court a reasonable justification for
  21             the retention and use of such information when weighed against the privacy
  22             interests of Plaintiffs and the class members;
  23          d) Requiring Aeries to implement and maintain a comprehensive Information
  24             Security Program designed to protect the confidentiality and integrity of
  25             Plaintiffs’ and class members’ PII;
  26          e) Requiring Aeries to engage independent third-party security auditors and
  27             internal personnel to run automated security monitoring;

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       CLASS ACTION COMPLAINT                                                                    50
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   1         f) Requiring Aeries to audit, test, and train its personnel regarding any new or
   2             modified procedures;
   3         g) Requiring Aeries to segment data by, among other things, creating firewalls
   4             and access controls so that if one area of Aeries’ network is compromised,
   5             hackers cannot gain access to other portions of Aeries’ systems;
   6         h) Requiring Aeries to conduct regular database scanning and security checks;
   7         i) Requiring Aeries to establish an information security training program that
   8             includes at least annual information security training for all employees, with
   9             additional training to be provided as appropriate based upon employees’
  10             respective responsibilities with handling PII, as well as protecting the PII of
  11             Plaintiffs and class members;
  12         j) Requiring Aeries to routinely and continually conduct internal training and
  13             education, at least annually, to inform security personnel how to identify and
  14             contain a breach when it occurs and what to do in response to a breach;
  15         k) Requiring Aeries to implement, maintain, regularly review, and revise as
  16             necessary, a threat management program designed to appropriately monitor
  17             Aeries’ information networks for threats, both internal and external, and
  18             assess whether monitoring tools are appropriately configured, tested, and
  19             updated;
  20         l) Requiring Aeries to meaningfully educate all class members about the threats
  21             they face as a result of the loss of their PII to third parties, as well as the
  22             steps affected individuals must take to protect themselves;
  23         m) Requiring Aeries to implement logging and monitoring programs sufficient
  24             to track traffic to and from its servers, as well as programs sufficient to
  25             protect infiltration of school districts’ local servers connected to Aeries’
  26             systems; and
  27

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       CLASS ACTION COMPLAINT                                                                    51
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   1         n) Requiring Aeries to provide ten years of identity theft and fraud protection
   2             services to Plaintiffs and class members.
   3      3) For an award of compensatory, consequential, and general damages, including
   4         nominal damages, as allowed by law in an amount to be determined;
   5      4) For an award of statutory damages and punitive damages, as allowed by law in
   6         an amount to be determined;
   7      5) For an award of restitution or disgorgement, in an amount to be determined;
   8      6) For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;
   9      7) For prejudgment interest on all amounts awarded; and
  10      8) Such other and further relief as the Court may deem just and proper.
  11                                      JURY DEMAND
  12         Plaintiffs, on behalf of themselves and the Class of all others similarly situated,
  13   hereby demand a trial by jury on all issues so triable pursuant to Rule 38 of the Federal
  14   Rules of Civil Procedure.
  15
       Dated: May 28, 2020                               Respectfully submitted,
  16                                                      /s/ Daniel L. Warshaw
                                                         Daniel L. Warshaw (CA Bar No.
  17
                                                         185365)
  18                                                     PEARSON, SIMON &
                                                         WARSHAW, LLP
  19
                                                         15165 Ventura Boulevard, Suite 400
  20                                                     Sherman Oaks, CA 91403
                                                         Telephone: (818) 788-8300
  21
                                                         Facsimile: (818) 788-8104
  22                                                     Email: dwarshaw@pswlaw.com
  23                                                     Joseph C. Bourne (CA Bar No.
  24                                                     308196)
                                                         PEARSON, SIMON &
  25                                                     WARSHAW, LLP
  26                                                     800 LaSalle Avenue, Suite 2150
                                                         Minneapolis, Minnesota 55402
  27

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       CLASS ACTION COMPLAINT                                                                    52
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   5                                                     TYCKO & ZAVAREEI LLP
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                                                         Washington, D.C. 20036
   7                                                     Telephone: (202) 973-0900
   8                                                     Facsimile: (202) 973-0950
                                                         Email: hzavareei@tzlegal.com
   9                                                           mclifford@tzlegal.com
  10
                                                         Counsel for Plaintiffs and the Proposed Class
  11
  12                                                     *pro hac vice application forthcoming

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       CLASS ACTION COMPLAINT                                                                      53
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                           Exhibit A
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  From: ABC Unified School District via Aeries Communication <17887785-do-not-
  reply@a.signalkit.com>
  Date: Wed, May 13, 2020 at 5:23 PM
  Subject: Notice of Data Breach
  To: <naarayan@gmail.com>




       NOTICE OF DATA BREACH


       The District’s Information & Technology department has
       received notification from Aeries Software Inc, our database
       vendor, that the District’s student information system database
       was compromised through a vulnerability in the Aeries software.
       We are currently investigating this issue.

       Until we know the extent of this possible breach, we need all
       ABC students and families with Aeries portal accounts to reset
       their passwords.
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       Tomorrow, May 14, 2020, an email will be sent to all ABC
       parent/student account holders with a link to reset their
       password.

       Once we have more information, families impacted will be
       notified by the District.

       Thank you,

       Dr. Colin Sprigg
       Director
       Information & Technology




          You are receiving this email because your email address is associated with
                                ABC Unified School District
                          16700 Norwalk Blvd. Cerritos, CA 90703

                       Want to change how you receive these emails?
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                            Exhibit B
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  From: Colin Sprigg via Aeries Communication <17896938-do-not-reply@a.signalkit.com>
  Date: Thu, May 14, 2020 at 6:37 PM
  Subject: An announcement from Colin Sprigg (Aeries Portal Password Reset)
  To: <naarayan@gmail.com>




       Dear ABC Parents and Students that have an Aeries Portal account:



       As published within ABC Unified’s Notice of Data Breach shared with
       the ABC community on May 13 (see attached), the school district will
       require all ABC parents and students that have an online Aeries Portal
       account to reset their passwords for security purposes. Please follow
       the written instructions below to manually reset your passwords. All
       Aeries Portal functions will not be accessible beginning May 14 until
       this process has been completed.

       Password Reset Instructions



            Go to https://parentportal.abcusd.us



            Click on Forgot Password?



            Type the email address for your Parent Portal account
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               (Click Next)



               Check your email inbox for a message from
               portal.confirmation@abcusd.us



               Open the message and click on the link that says Click Here



               Click Next



               Enter your new password in both the New Password field and
               again in the ReType New Password field. (Click Next)



               Once you see the screen that says Complete, the password reset
               process is done.

       For more information go to the ABC Unified School District website
       at www.abcusd.us > Departments > Information and Technology >
       Data Breach.

       For technical support, please review the attached password reset “how-
       to” document, or contact the Online Learning at Home Technical
       Support Line at (562) 229-7929 from 8:30 AM to 4 PM, or email
       support@abcusd.us.

       Thank you,
       Dr. Colin Sprigg, Director
       Information and Technology

       This announcement included a file attachment. Click the link below to
       view.

       How_to_Reset_your_Parent_Portal_Account_Password.pdf
       Data_Breach_05.13.20_v1.pdf
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          You are receiving this email because your email address is associated with
                                ABC Unified School District
                          16700 Norwalk Blvd. Cerritos, CA 90703

                       Want to change how you receive these emails?
                          Manage your notification preferences
                            You've contacted the wrong person

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                            Exhibit C
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  From: Colin Sprigg via Aeries Communication <18038891-do-not-reply@a.signalkit.com>
  Date: Thu, May 28, 2020 at 1:34 PM
  Subject: An announcement from Colin Sprigg
  To: <Naarayan@gmail.com>




       Dear ABC Community:



       On May 13, the ABC Unified School District publicly

       reported that a software data breach had occurred

       involving Aeries Portal, the online program allowing

       student and parent access to common educational

       records. In order to keep all ABC Aeries Portal users

       secure, the District revoked all Aeries Portal passwords,
       requiring all account holders to manually reset their

       passwords to regain access.


       The District has since learned which ABC families were

       affected by the breach, and this notice serves to more
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       fully inform those impacted of what data was

       compromised, the District’s response, and what families

       can do to further protect their information.


       This notice is publicly posted on the District website
       at www.abcusd.us > Departments > Information and

       Technology.

       Notice of Data Breach


       What      On May 12, 2020, the ABC Unified School District was informed
       Happened? by Aeries Software, Inc., the vendor for our student information
                 database, that they had suffered a data breach impacting those
                 who use the ABC USD portal.

                    State and federal law enforcement agencies are conducting
                    ongoing investigations into this data breach. At this point,
                    investigators believe one entity was responsible for the attack,
                    and suspects are in custody.

                    Aeries Software has since patched the software issue that
                    allowed unauthorized access to occur.

       What        The following information was exposed on November 4, 2019:
       Information
       was
       Involved?         Parent Name


                          Student Name


                          Student ID (School)


                          Physical Resident Address
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                           Email Address


                           Password “hashes” Aeries automatically encrypts
                           passwords. A password hash does not reveal the
                           password. However, with access to a password hash,
                           unauthorized persons may be able to deconstruct weak,
                           common, or simple passwords.

                     No other information was exposed. No social security numbers
                     are maintained in the Aeries system; therefore, no risk of
                     compromise to this data is possible.


                     ABC has determined that the unauthorized party attempted to
                     gather your information. No evidence exists that your data was
                     taken, nor misused. ABC is required by law to notify the families
                     that were subject to unauthorized access.


       What the      ABCUSD Information & Technology revoked all existing
       District is   passwords, and users were instructed on how to manually reset
       Doing.        their password.

       What You      Parents and students need to reset their Aeries Portal password
       Need to       in response to this incident before further access is granted.
       Do.
                     It is recommended that families consider changing user names,
                     and/or passwords that may have been in common with those
                     used with the Aeries Portal.   

       For additional support, please contact the Tech Support Hotline at (562)
       229-7929.




          You are receiving this email because your email address is associated with
                                ABC Unified School District
                          16700 Norwalk Blvd. Cerritos, CA 90703

                       Want to change how you receive these emails?
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                         Manage your notification preferences
                          You've contacted the wrong person

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